 

Case 17-22595-L|\/|| Doc 82 Filed 07/06/18 Page 1 of 5

UN lTED STATES BANKRUPTCY COURT, SOUTHERN DlSTRlCT OF FLORIDA

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CHAB! EB 13 ELAE (lgdividual Adiiistmggt gf thtsl

 

 

 

 

|:] Original Plan
|:| 6th Amended Plan (lndicate lst, 2nd, etc. Amended, if` applicable)
|j Modified Plan (Indicate lst, 2nd, etc. Modified, if applicab|e)
DEBTOR: Lai Pinel JOINT DEBTOR: CASE NO.: l7-22595-LMI
SS#: xxx-xx- L SS#: xxx-xx-
l. NOTlCES
To Debtors: Plans that do not comply with local rules andjudicial rulings may not be confinnab|e. All plans, amended plans

and modified plans shall be served upon all creditors and a certificate of` service filed with the Clerk pursuant to
Local Rules 2002-l (C)(S), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
filing the chapter 13 petition or within 30 days of` entry of the order converting the case to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated.

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph Vlll. Debtor(s) must check one
box on each line listed below in this section to state whether the plan includes any of the f`ol|owing:

 

The valuation of` a secured claim, set out in Section Ill, which may result in a

partial payment or no payment at all to the secured creditor E| included |:] Not mcluded

 

Avoidance.of a judicial lien or nonpossessory, nonpurchase-money security interest, set \:| included E| Not included
out in Section lll

 

 

 

Nonstandard provisions, set out in Section Vlll |:| included \:| Not included

 

 

lI. DD 'A ' FEE

A. M NT L PL N P M T: 'I`his Plan pays f`or the benefit of the creditors the amounts listed below, including trustee's
fees of` 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

 

l. $12216.67 for months;to_?;_;
2. $l,396.67 f'or months _4_ to_L;
3. $2,725.92 f`or months__ll_to_?:_6_ ;
B. DEBTOR|S|’ ATTORNEY'S FEE: l:| NONE E] PRO BONO
Total Fees: $6850.00 Total Paid: $1296.00 Balance Due: $5554.00
Payable $445.00 /month (Months _l_ to _l_ )
Payab|e $607.00 /month (Months _4_ to § )

A|lowed f`ees under LR 2016-1(B)(2) are itemized below:
$3500 plus MMM $2600 and MTV $750 for a total of $6850

Applications for compensation must be filed for all fees over and above the Court‘s Guidelines f`or Compensation.

 

 

 

Ill. TR T E T ED LA|

A. MBE_D_QLAJM§: [:] NONE
[Retain Liens pursuant to ll U.S.C. §1325 (a)($)] Mortgage(s)/Lien on Real or Personal Property:

 

I. Creditor= Bsi Financiai

 

 

Addr€SSZ PO BOX 660605 Arrearage/ Payoff on Petiiion Date
Da"as’ TX 75266 MMM Adequate Proi¢ccion $500.00 /momh (Momhs 1 col )
Last 4 ngjts of MMM Adequate Protection __SL§M /month (Months ll to_L_ )

Account No.: 1240

 

 

 

LF-3| (rev. l0/3/l7) ?age l ol`$

CaS€ 17-22595-L|\/||

Doc 82 Filed 07/06/18 Page 2 of 5

Debtor(s): Lai Pinel Case number: l7-22595-LM[

 

Other: Note: 31% of $3,000.00 is $930.00.

I:I Real Property
\:[Principal Residence

I:Dther Real Property

Address of` Collateral:
10964 NW 43rd Terr, Doral, FL 33178

|:] Personal Property/Vehic|e

Description of` Collateral:

Check one below for Real Property:
l:IEscrow is included in the regular payments

I:|The debtor(s) will pay mtaxes l:]insurance directly

 

 

2- Cl'edit°l'i Eagle Cove Homeowners Assoc.

Address: 14275 SW 142 Ave
Miami, FL 33186

Last 4 Digits of`
Account No.:

Other:

0964

Arrearage/ Payof`f` on Petition Date
Regular Payment (Maintain)

 

/month (Months l

siso.oo wl i

 

I:] Real Property
|:[Principal Residence

E]Other Real Property

Address of`Co||ateral:
10964 NW 43rd Tei‘r, Doral, FL 33178

m Personal Property/Vehic|e

Description of` Col|ateral:

Check one below for Real Property:
\:IEscrow is included in the regular payments

|:lThe debtor(s) will pay |:\taxes |:]insurance directly

 

 

 

 

B. XAMLAI_IQN_QE`_CQLLAIEBAL: l:| NONE
IF YOU ARE A SECURED CRED[TOR LlSTED BELOW, THE PLAN SEEKS TO VALUE`, THE COLLATERAL
SECURING YOUR CLA[M IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED UPON

YOU PURSUANT TO BR 7004 AND LR 3015-3.

l. REAL PROPERTY: [:] NONE

 

l, Creditor: Bank of America

Address: P.O. BOX 15168
Wilmington, DE 19850

 

 

Value of` Col|ateral:

Amount of Creditor's Lien:

Interest Rate:

Payment
Tota| paid in plan:

$240,000.00

w $O-OO

$0.00 /month(Months l to _3_6)

0.00%

 

 

 

LF-3i (r¢v. lola/m

Last 4 Digits of`Account No.: 7299
Check one below:
Real !_,m.perty _ |:\ Escrow is included in the monthly
@Pr'nclpal Res'dence mortgage payment listed in this section
|:lOther Real Property \:| The debtor(s) will pay
Address of` Col|ateral: |:]taxes l:|insurance directly
10964 NW 43rd Terr, Doral, FL 33178
Pag,e 2 of5

 

CaS€ 17-22595-L|\/||

Debtor(s): Lai Pine|

Doc 82 Filed 07/06/18 Page 3 of 5

Case number: l7-22595-LMl

 

2. Cl'editOr: Eag|e Cove Homeowners Value Ol`COllaiel'alZ $240,000.00 Pa ment
Assoc. . .
Amount of Creditor's Lien: $247,910.00 Total Pald m Plani $0-00

Address: 14275 SW 142 AVe
Miami, FL 33136

Last 4 Digits of Account No.:

Real Property
E]Principal Residence
I:|Other Real Property

Address of Col|ateral:
10964 NW 43rd Terr, Doral, FL 33178

0649

Interest Rate: 0.00%

Check one below:

El Escrow is included in the monthly
mortgage payment listed in this section

|:| The debtor(s) will pay

|:|taxes

l:]insurance directly

$0.00

/month(l\/lonths l to § )

 

lV.

Vl.

Vll.
VIII.

Li=-3i (¢w. io/3/17)

 

 

 

 

 

2. VEHICLES(S): E| NONE
3. PERSONAL PROPERTY: El NONE

C. L! EN AVOlDAN§,?_E l:l NONE
D. §QBREHDER QF QOLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
distribution fom the Chapter 13 Trustee.

|§| NoNE

E. DIRECT PAYMENT§: Secured claims filed by any creditor granted stay relief`in this section shall not receive a distribution
f`om the Chapter l3 Trustee.

|§| NONE

TREATMENT oF FEE§ Ago PRIoRiT! gLAiivi§ [as deiined in ii U.s.C. §507 and i 1 U.S.C. § iszzia)(4)]
A. Ar)MiNisIgATiv§ F§E§ QIHEB THA[§ DEBTQR§[§)' AITQBNEX'§ EEE: [_i_| NONE

 

 

 

 

B- MMM: |:lNONE

Total Due: $3,359.38 Total Payment $3,359.38
Payable: $129.21 /month(Months L_ to _L)_ )

C. DQME§I!Q siii>i:QBI QBi,igATigNrs): |§] NONE

D. OTHER: l:] NONE

T E EDN NP R T
A. Pay 3477.80 /month(Months _ll_ to § )

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

B. E| If` checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
C- S_E_PABAIE.L_YLLA_SS_LHEQ: I:| NONE

*Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
creditors pursuant to ll U.S.C. § 1322.

T R XPIR D : Secured claims filed by any creditor/lessor granted stay relief in this

section shall not receive a distribution from the Chapter 13 Trustee.
|§] NONE

income 143 animus mo gagiii~_ms= |§| NoNi-:
mgm-sTAi~_ioAgr) Pi£Ai~_i gngisiQNs |:| NoNE

l:l Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.

 

Page 3 of§

Case 17-22595-L|\/|| Doc 82 Filed 07/06/18 Page 4 of 5

Debtor(s): Lai Pinel Case number: l7~22595-LMI

 

l:] Mortgage Modification Mediation

l The debtor has filed a Verified Motion for Referral to MMM with:
NationStar Mortgage, LLC ("Lender")
loan number 1240

for real property located at 10964 NW 43rd Terr, Doral, FL 33 17 8

The parties shall timely comply with all requirements of the Order of` Ref`erral to MMM and all Administrative Orders/Local
Rules regarding MMM. While the MMM is pending and until the trial/interim payment plan or the permanent mortgage
modification/permanent payment is established by the parties, absent Court order to the contrary, the debtor has included a post-
petition monthly plan payment (a) with respect to the debtor’s homestead, of no less than the lower of` the prepetition monthly
contractual mortgage payment or 31% of` the debtor’s gross monthly income (af`ter deducting any amount paid toward HOA fees
due for the property) and (b) with respect to income producing property, of no less than 75% of the gross income generated by
such property, as a good faith adequate protection payment to the lender. A|| payments shall be considered timely upon receipt
by the trustee and not upon receipt by the lender.

Until the MMM is completed and the Final Report of Mortgage Modification Mediator is filed, any objection to the lender’s
proof of claim on the real property described above shall be held in abeyance as to the regular payment and mortgage arrearage
stated in the proof ofclaim only. The debtor shall assert any and all other objections to the proof of claim prior to confirmation
of the plan or modified plan.

If the debtor, co-obligor/co-borrower or other third party (if` applicab|e) and the lender agree to a settlement as a result of the
pending MMM, the debtor will file the MMM Local Form “Ex Parte Motion to Approve Mortgage Modification Agreement
with Lender” (or Self`-Represented Debtor’s Motion to Approve Mortgage Modif`ication Agreement with Lender) no later than
14 calendar days following settlement. Once the settlement is approved by the Court, the debtor shall immediately amend or
modify the plan to reflect the settlement and the lender shall amend its Proof` of Claim to reflect the settlement, as applicable.

If`a settlement is reached after the plan is confirmed, the debtor will file a motion to modify the plan no later than 30 calendar
days following approval of the settlement by the Court and the Lender shall have leave to amend its Proof`ofClaim to reflect
the settlement reached after continuation of the plan. The parties will then timely comply with any and all requirements
necessary to complete the settlement

ln the event the debtor receives any financial benefit from the lender as part of any agreement, the debtor shall immediately
disclose the financial benefit to the Court and the trustee and amend or modify the plan accordingly.

If` the lender and the debtor f`ail to reach a settlement, then no later than 14 calendar days after the mediator’s Final Report is
filed, the debtor will amend or modify the plan to (a) conform to the lender’s Proof of Claim (if the lender has filed a Proof` of
Claim), without limiting the Debtor’s right to object to the claim or proceed with a motion to value; or (b) provide that the real
properly will be “treated outside the plan.” If` the property is “treated outside the plan,"` the lender will be entitled to in rem stay
relief`to pursue available state court remedies against the property. Notwithstanding the foregoing, lender may file a motion to
confirm that the automatic stay is not in effect as to the real property.

Confirmation of the plan will be without prejudice to the assertion of any rights the lender has to address payment of its Proof'
of Claim.

LF-3| (rev. 10/3/17) Pagc 4 of 5

Case 17-22595-L|\/|| Doc 82 Filed 07/06/18 Page 5 of 5

Debtor(s): Lai Pinel Case number: l7-22595-LM1

 

PROPERTY OF THE ESTATE WILL VEST lN THE DEBTOR(S) UPON PLAN CONF|RMATION.

1 declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 

 

 

/s/Lai Pinel Debtor july 6, 2013 Joint Debtor
Lai Pinel Date Date
Attomey with permission to sign on Date

Debtor(s)‘ behalf

By filing this document, the Attomey for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph Vlll.

LF-3| (rev. 10f3/17) Pagc 5 0f5

